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  14                      THE UNITED STATES DISTRICT COURT
  15                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  17   AMERIS BANK, a Georgia state-          Case No. 8:23-cv-02430-FWS-KES
       chartered banking corporation, doing
  18   business as BALBOA CAPITAL             JUDGMENT
       CORPORATION,
  19
                          Plaintiff,
  20
                    vs.
  21
       KEY CARRIER GROUP, CO., an
  22   Illinois company,
  23                      Defendant.
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Case 8:23-cv-02430-FWS-KES Document 22 Filed 06/28/24 Page 2 of 2 Page ID #:145



   1                                      JUDGMENT
   2         On June 28, 2024, the court granted in part and denied in part Plaintiff
   3   Ameris Bank’s (“Plaintiff”) Motion for Default Judgment against Defendant Key
   4   Carrier Group, Co. (“Defendant”). (Dkt. 21.) Accordingly, having considered all
   5   the pleadings and papers filed in this case, the evidence on record and argument of
   6   counsel, and the applicable law, and for the good cause appearing therein, IT IS
   7   HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
   8

   9         1. Judgment is entered in this matter, in favor of Plaintiff, and against
  10            Defendant, in the total amount of $184,317.21; which represents
  11            (1) compensatory damages in the amount of $165,354.00;
  12            (2) prejudgment interest in the amount of $11,552.13; (3) attorneys’ fees
  13            in the amount of $6,907.08; and (4) costs in the amount of $504.00.
  14         2. The Clerk is ORDERED to enter this Judgment forthwith.
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  16         IT IS SO ORDERED.
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  19   DATED: June 28, 2024                   ______________________________
  20                                          Hon. Fred W. Slaughter
  21                                          UNITED STATES DISTRICT JUDGE
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